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                    EXHIBIT 1
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   HIGHLIGHTS OF PRESCRIBING INFORMATION                                           ----------------------DOSAGE AND ADMINISTRATION----------------------­
   These highlights do not include all the information needed to use               Non-valvular Atrial Fibrillation:
   PRADAXA safely and effectively. See full prescribing information for                  o For patients with CrCl >30 mL/min: 150 mg orally, twice daily (2.1)
   PRADAXA.                                                                              o For patients with CrCl 15-30 mL/min: 75 mg orally, twice daily (2.1)
                                                                                   Treatment of DVT and PE:
   PRADAXA® (dabigatran etexilate mesylate) capsules, for oral use                       o For patients with CrCl >30 mL/min: 150 mg orally, twice daily after
   Initial U.S. Approval: 2010                                                              5-10 days of parenteral anticoagulation (2.1)
                                                                                   Reduction in the Risk of Recurrence of DVT and PE:
    WARNING: (A) PREMATURE DISCONTINUATION OF PRADAXA                                    o For patients with CrCl >30 mL/min: 150 mg orally, twice daily after
       INCREASES THE RISK OF THROMBOTIC EVENTS, and                                         previous treatment (2.1)
                  (B) SPINAL/EPIDURAL HEMATOMA                                     Prophylaxis of DVT and PE Following Hip Replacement Surgery:
        See full prescribing information for complete boxed warning                      o For patients with CrCl >30 mL/min: 110 mg orally first day, then
                                                                                            220 mg once daily (2.1)
   (A) PREMATURE DISCONTINUATION OF PRADAXA INCREASES                              Review recommendations for converting to or from other oral or parenteral
   THE RISK OF THROMBOTIC EVENTS: Premature discontinuation of                        anticoagulants (2.4, 2.5)
   any oral anticoagulant, including PRADAXA, increases the risk of                Temporarily discontinue PRADAXA before invasive or surgical
   thrombotic events. To reduce this risk, consider coverage with another             procedures when possible, then restart promptly (2.6)
   anticoagulant if PRADAXA is discontinued for a reason other than
   pathological bleeding or completion of a course of therapy (2.4, 2.5, 2.6,     ---------------------DOSAGE FORMS AND STRENGTHS---------------------­
   5.1).                                                                          Capsules: 75 mg, 110 mg and 150 mg (3)

   (B) SPINAL/EPIDURAL HEMATOMA: Epidural or spinal hematomas                     -------------------------------CONTRAINDICATIONS-----------------------------­
   may occur in patients treated with PRADAXA who are receiving                    Active pathological bleeding (4)
   neuraxial anesthesia or undergoing spinal puncture. These hematomas             History of serious hypersensitivity reaction to PRADAXA (4)
   may result in long-term or permanent paralysis (5.3). Monitor patients          Mechanical prosthetic heart valve (4)
   frequently for signs and symptoms of neurological impairment and if
   observed, treat urgently. Consider the benefits and risks before neuraxial     -----------------------WARNINGS AND PRECAUTIONS-----------------------­
   intervention in patients who are or who need to be anticoagulated (5.3).        Bleeding: PRADAXA can cause serious and fatal bleeding (5.2)
                                                                                   Bioprosthetic heart valves: PRADAXA use not recommended (5.4)
   ----------------------------RECENT MAJOR CHANGES-------------------------­
   Indications and Usage (1.4)                                     11/2015        ------------------------------ADVERSE REACTIONS------------------------------­
   Dosage and Administration (2)                                   11/2015        Most common adverse reactions (>15%) are gastritis-like symptoms and
   Warnings and Precautions (5)                                    11/2015        bleeding (6.1)

   ----------------------------INDICATIONS AND USAGE--------------------------­   To report SUSPECTED ADVERSE REACTIONS, contact Boehringer
   PRADAXA is a direct thrombin inhibitor indicated:                              Ingelheim Pharmaceuticals, Inc. at (800) 542-6257 or (800) 459-9906 TTY
    To reduce the risk of stroke and systemic embolism in patients with          or FDA at 1-800-FDA-1088 or www.fda.gov/medwatch.
      non-valvular atrial fibrillation (1.1)
    For the treatment of deep venous thrombosis (DVT) and pulmonary              -------------------------------DRUG INTERACTIONS-----------------------------­
      embolism (PE) in patients who have been treated with a parenteral            P-gp inducers rifampin: Avoid coadministration with PRADAXA (5.5)
      anticoagulant for 5-10 days (1.2)                                            P-gp inhibitors in patients with CrCl 30-50 mL/min: Reduce dose or avoid
    To reduce the risk of recurrence of DVT and PE in patients who have been         (7)
      previously treated (1.3)                                                     P-gp inhibitors in patients with CrCl <30 mL/min: Not recommended (7)
    For the prophylaxis of DVT and PE in patients who have undergone hip
      replacement surgery (1.4)                                                   -----------------------USE IN SPECIFIC POPULATIONS-----------------------­
                                                                                  Geriatric use: Risk of bleeding increases with age (8.5)

                                                                           See 17 for PATIENT COUNSELING INFORMATION and Medication
                                                                           Guide.
                                                                                                                     Revised: 11/2015
   _______________________________________________________________________________________________________________________________________

   FULL PRESCRIBING INFORMATION: CONTENTS*                                        3   DOSAGE FORMS AND STRENGTHS
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                                                  PLAINTIFFS' EXHIBIT

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       8.2 Labor and Delivery                                         14.2Treatment and Reduction in the Risk of Recurrence of Deep
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      14.1 Reduction of Risk of Stroke and Systemic Embolism in   listed.
           Non-valvular Atrial Fibrillation




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   FULL PRESCRIBING INFORMATION

                  WARNING: (A) PREMATURE DISCONTINUATION OF PRADAXA INCREASES THE RISK OF THROMBOTIC EVENTS,
                                                 (B) SPINAL/EPIDURAL HEMATOMA

   (A) PREMATURE DISCONTINUATION OF PRADAXA INCREASES THE RISK OF THROMBOTIC EVENTS
   Premature discontinuation of any oral anticoagulant, including PRADAXA, increases the risk of thrombotic events. If anticoagulation with PRADAXA is
   discontinued for a reason other than pathological bleeding or completion of a course of therapy, consider coverage with another anticoagulant [see Dosage and
   Administration (2.4, 2.5, 2.6) and Warnings and Precautions (5.1)].

   (B) SPINAL/EPIDURAL HEMATOMA
   Epidural or spinal hematomas may occur in patients treated with PRADAXA who are receiving neuraxial anesthesia or undergoing spinal puncture. These
   hematomas may result in long-term or permanent paralysis. Consider these risks when scheduling patients for spinal procedures. Factors that can increase
   the risk of developing epidural or spinal hematomas in these patients include:
        use of indwelling epidural catheters
        concomitant use of other drugs that affect hemostasis, such as non-steroidal anti-inflammatory drugs (NSAIDs), platelet inhibitors, other anticoagulants
        a history of traumatic or repeated epidural or spinal punctures
        a history of spinal deformity or spinal surgery
        optimal timing between the administration of PRADAXA and neuraxial procedures is not known
   [see Warnings and Precautions (5.3)].

   Monitor patients frequently for signs and symptoms of neurological impairment. If neurological compromise is noted, urgent treatment is necessary [see
   Warnings and Precautions (5.3)].

   Consider the benefits and risks before neuraxial intervention in patients anticoagulated or to be anticoagulated [see Warnings and Precautions (5.3)].

   1      INDICATIONS AND USAGE
   1.1 Reduction of Risk of Stroke and Systemic Embolism in Non-valvular Atrial Fibrillation
   PRADAXA is indicated to reduce the risk of stroke and systemic embolism in patients with non-valvular atrial fibrillation.

   1.2 Treatment of Deep Venous Thrombosis and Pulmonary Embolism
   PRADAXA is indicated for the treatment of deep venous thrombosis and pulmonary embolism in patients who have been treated with a parenteral anticoagulant for
   5-10 days.

   1.3 Reduction in the Risk of Recurrence of Deep Venous Thrombosis and Pulmonary Embolism
   PRADAXA is indicated to reduce the risk of recurrence of deep venous thrombosis and pulmonary embolism in patients who have been previously treated.

   1.4 Prophylaxis of Deep Vein Thrombosis and Pulmonary Embolism Following Hip Replacement Surgery
   PRADAXA is indicated for the prophylaxis of deep vein thrombosis and pulmonary embolism, in patients who have undergone hip replacement surgery.

   2       DOSAGE AND ADMINISTRATION
   2.1 Recommended Dose
                 Indication                                                      Dosage
   Reduction in Risk of Stroke and               CrCl >30 mL/min:                   150 mg twice daily
   Systemic Embolism in Non-valvular AF
                                                 CrCl 15 to 30 mL/min:               75 mg twice daily

                                                 CrCl <15 mL/min or on dialysis:     Dosing recommendations cannot be
                                                                                     provided
                                                 CrCl 30 to 50 mL/min with           Reduce dose to 75 mg twice daily
                                                 concomitant use of P-gp             if given with P-gp inhibitors
                                                 inhibitors:                         dronedarone or systemic
                                                                                     ketoconazole.

                                                 CrCl <30 mL/min with                Avoid co-administration
                                                 concomitant use of P-gp
                                                 inhibitors:
   Treatment of DVT and PE                       CrCl >30 mL/min:                    150 mg twice daily

   Reduction in the Risk of Recurrence of        CrCl ≤30 mL/min or on               Dosing recommendations cannot be
   DVT and PE                                    dialysis:                           provided
                                                 CrCl <50 mL/min with                Avoid co-administration
                                                 concomitant use of P-gp
                                                 inhibitors:
   Prophylaxis of DVT and PE Following           CrCl >30 mL/min:                    110 mg for first day, then 220 mg
   Hip Replacement Surgery                                                           once daily

                                                 CrCl ≤30 mL/min or on               Dosing recommendations cannot be
                                                 dialysis:                           provided
                                                 CrCl <50 mL/min with                Avoid co-administration
                                                 concomitant use of P-gp
                                                 inhibitors:




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   Reduction of Risk of Stroke and Systemic Embolism in Non-valvular Atrial Fibrillation
   For patients with creatinine clearance (CrCl) >30 mL/min, the recommended dose of PRADAXA is 150 mg taken orally, twice daily. For patients with severe renal
   impairment (CrCl 15-30 mL/min), the recommended dose of PRADAXA is 75 mg twice daily [see Use in Specific Populations (8.6) and Clinical Pharmacology
   (12.3)]. Dosing recommendations for patients with a CrCl <15 mL/min or on dialysis cannot be provided.

   Treatment of Deep Venous Thrombosis and Pulmonary Embolism
   For patients with CrCl >30 mL/min, the recommended dose of PRADAXA is 150 mg taken orally, twice daily, after 5-10 days of parenteral anticoagulation. Dosing
   recommendations for patients with a CrCl ≤30 mL/min or on dialysis cannot be provided [see Use in Specific Populations (8.6) and Clinical Pharmacology (12.3)].

   Reduction in the Risk of Recurrence of Deep Venous Thrombosis and Pulmonary Embolism
   For patients with CrCl >30 mL/min, the recommended dose of PRADAXA is 150 mg taken orally, twice daily after previous treatment. Dosing recommendations for
   patients with a CrCl ≤30 mL/min or on dialysis cannot be provided [see Use in Specific Populations (8.6) and Clinical Pharmacology (12.3)].

   Prophylaxis of Deep Vein Thrombosis and Pulmonary Embolism Following Hip Replacement Surgery
   For patients with CrCl >30 mL/min, the recommended dose of PRADAXA is 110 mg taken orally 1-4 hours after surgery and after hemostasis has been achieved, then
   220 mg taken once daily for 28-35 days. If PRADAXA is not started on the day of surgery, after hemostasis has been achieved initiate treatment with 220 mg once
   daily. Dosing recommendations for patients with a CrCl ≤30 mL/min or on dialysis cannot be provided [see Use in Specific Populations (8.6) and Clinical
   Pharmacology (12.2, 12.3)].

   2.2 Dosing Adjustments
   Assess renal function prior to initiation of treatment with PRADAXA. Periodically assess renal function as clinically indicated (i.e., more frequently in clinical
   situations that may be associated with a decline in renal function) and adjust therapy accordingly. Discontinue PRADAXA in patients who develop acute renal failure
   while on PRADAXA and consider alternative anticoagulant therapy.

   Generally, the extent of anticoagulation does not need to be assessed. When necessary, use aPTT or ECT, and not INR, to assess for anticoagulant activity in patients on
   PRADAXA [see Warnings and Precautions (5.2) and Clinical Pharmacology (12.2)].

   Reduction of Risk of Stroke and Systemic Embolism in Non-valvular Atrial Fibrillation
   In patients with moderate renal impairment (CrCl 30-50 mL/min), concomitant use of the P-gp inhibitor dronedarone or systemic ketoconazole can be expected to
   produce dabigatran exposure similar to that observed in severe renal impairment. Reduce the dose of PRADAXA to 75 mg twice daily [see Warnings and Precautions
   (5.5), Drug Interactions (7.1) and Clinical Pharmacology (12.3)].

   Treatment and Reduction in the Risk of Recurrence of Deep Venous Thrombosis and Pulmonary Embolism
   Dosing recommendations for patients with CrCl ≤30 mL/min cannot be provided. Avoid use of concomitant P-gp inhibitors in patients with CrCl <50 mL/min [see
   Warnings and Precautions (5.5), Drug Interactions (7.2) and Clinical Pharmacology (12.3)].

   Prophylaxis of Deep Vein Thrombosis and Pulmonary Embolism Following Hip Replacement Surgery
   Dosing recommendations for patients with CrCl ≤30 mL/min or on dialysis cannot be provided. Avoid use of concomitant P-gp inhibitors in patients with CrCl <50
   mL/min [see Warnings and Precautions (5.5), Drug Interactions (7.3) and Clinical Pharmacology (12.2, 12.3)].

   2.3 Instructions to Patients
   Instruct patients to swallow the capsules whole. PRADAXA should be taken with a full glass of water. Breaking, chewing, or emptying the contents of the capsule can
   result in increased exposure [see Clinical Pharmacology (12.3)].

   If a dose of PRADAXA is not taken at the scheduled time, the dose should be taken as soon as possible on the same day; the missed dose should be skipped if it cannot
   be taken at least 6 hours before the next scheduled dose. The dose of PRADAXA should not be doubled to make up for a missed dose.

   2.4 Converting from or to Warfarin
   When converting patients from warfarin therapy to PRADAXA, discontinue warfarin and start PRADAXA when the INR is below 2.0.

   When converting from PRADAXA to warfarin, adjust the starting time of warfarin based on creatinine clearance as follows:
           For CrCl ≥50 mL/min, start warfarin 3 days before discontinuing PRADAXA.
           For CrCl 30-50 mL/min, start warfarin 2 days before discontinuing PRADAXA.
           For CrCl 15-30 mL/min, start warfarin 1 day before discontinuing PRADAXA.
           For CrCl <15 mL/min, no recommendations can be made.

   Because PRADAXA can increase INR, the INR will better reflect warfarin’s effect only after PRADAXA has been stopped for at least 2 days [see Clinical
   Pharmacology (12.2)].

   2.5 Converting from or to Parenteral Anticoagulants
   For patients currently receiving a parenteral anticoagulant, start PRADAXA 0 to 2 hours before the time that the next dose of the parenteral drug was to have been
   administered or at the time of discontinuation of a continuously administered parenteral drug (e.g., intravenous unfractionated heparin).

   For patients currently taking PRADAXA, wait 12 hours (CrCl ≥30 mL/min) or 24 hours (CrCl <30 mL/min) after the last dose of PRADAXA before initiating
   treatment with a parenteral anticoagulant [see Clinical Pharmacology (12.3)].

   2.6 Discontinuation for Surgery and Other Interventions
   If possible, discontinue PRADAXA 1 to 2 days (CrCl ≥50 mL/min) or 3 to 5 days (CrCl <50 mL/min) before invasive or surgical procedures because of the increased
   risk of bleeding. Consider longer times for patients undergoing major surgery, spinal puncture, or placement of a spinal or epidural catheter or port, in whom complete
   hemostasis may be required [see Use in Specific Populations (8.6) and Clinical Pharmacology (12.3)].




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   If surgery cannot be delayed, there is an increased risk of bleeding [see Warnings and Precautions (5.2)]. This risk of bleeding should be weighed against the urgency
   of intervention [see Warnings and Precautions (5.1, 5.3)]. Use a specific reversal agent (idarucizumab) in case of emergency surgery or urgent procedures when
   reversal of the anticoagulant effect of dabigatran is needed. Refer to the idarucizumab prescribing information for additional information. Restart PRADAXA as soon
   as medically appropriate.
   3      DOSAGE FORMS AND STRENGTHS
   150 mg capsules with a light blue opaque cap imprinted in black with the Boehringer Ingelheim company symbol and a cream-colored opaque body imprinted in black
   with “R150”.

   110 mg capsules with a light blue opaque cap imprinted in black with the Boehringer Ingelheim company symbol and a light blue opaque body imprinted in black with
   “R110”.

   75 mg capsules with a cream-colored opaque cap imprinted in black with the Boehringer Ingelheim company symbol and a cream-colored opaque body imprinted in
   black with “R75”.

   4    CONTRAINDICATIONS
   PRADAXA is contraindicated in patients with:
         Active pathological bleeding [see Warnings and Precautions (5.2) and Adverse Reactions (6.1)].
         History of a serious hypersensitivity reaction to PRADAXA (e.g., anaphylactic reaction or anaphylactic shock) [see Adverse Reactions (6.1)].
         Mechanical prosthetic heart valve [see Warnings and Precautions (5.4)].
   5        WARNINGS AND PRECAUTIONS
   5.1 Increased Risk of Thrombotic Events after Premature Discontinuation
   Premature discontinuation of any oral anticoagulant, including PRADAXA, in the absence of adequate alternative anticoagulation increases the risk of thrombotic
   events. If PRADAXA is discontinued for a reason other than pathological bleeding or completion of a course of therapy, consider coverage with another anticoagulant
   and restart PRADAXA as soon as medically appropriate [see Dosage and Administration (2.4, 2.5, 2.6)].

   5.2 Risk of Bleeding
   PRADAXA increases the risk of bleeding and can cause significant and, sometimes, fatal bleeding. Promptly evaluate any signs or symptoms of blood loss (e.g., a drop
   in hemoglobin and/or hematocrit or hypotension). Discontinue PRADAXA in patients with active pathological bleeding [see Dosage and Administration (2.2)].

   Risk factors for bleeding include the concomitant use of other drugs that increase the risk of bleeding (e.g., anti-platelet agents, heparin, fibrinolytic therapy, and
   chronic use of NSAIDs). PRADAXA’s anticoagulant activity and half-life are increased in patients with renal impairment [see Clinical Pharmacology (12.2)].

   Reversal of Anticoagulant Effect:
   A specific reversal agent (idarucizumab) for dabigatran is available when reversal of the anticoagulant effect of dabigatran is needed:
              For emergency surgery/urgent procedures
              In life-threatening or uncontrolled bleeding

   Hemodialysis can remove dabigatran; however the clinical experience supporting the use of hemodialysis as a treatment for bleeding is limited [see Overdosage (10)].
   Prothrombin complex concentrates, or recombinant Factor VIIa may be considered but their use has not been evaluated in clinical trials. Protamine sulfate and vitamin
   K are not expected to affect the anticoagulant activity of dabigatran. Consider administration of platelet concentrates in cases where thrombocytopenia is present or
   long-acting antiplatelet drugs have been used.

   5.3 Spinal/Epidural Anesthesia or Puncture
   When neuraxial anesthesia (spinal/epidural anesthesia) or spinal puncture is employed, patients treated with anticoagulant agents are at risk of developing an epidural or
   spinal hematoma which can result in long-term or permanent paralysis [see Boxed Warning].

   To reduce the potential risk of bleeding associated with the concurrent use of dabigatran and epidural or spinal anesthesia/analgesia or spinal puncture, consider the
   pharmacokinetic profile of dabigatran [see Clinical Pharmacology (12.3)]. Placement or removal of an epidural catheter or lumbar puncture is best performed when the
   anticoagulant effect of dabigatran is low; however, the exact timing to reach a sufficiently low anticoagulant effect in each patient is not known.

   Should the physician decide to administer anticoagulation in the context of epidural or spinal anesthesia/analgesia or lumbar puncture, monitor frequently to detect any
   signs or symptoms of neurological impairment, such as midline back pain, sensory and motor deficits (numbness, tingling, or weakness in lower limbs), bowel and/or
   bladder dysfunction. Instruct patients to immediately report if they experience any of the above signs or symptoms. If signs or symptoms of spinal hematoma are
   suspected, initiate urgent diagnosis and treatment including consideration for spinal cord decompression even though such treatment may not prevent or reverse
   neurological sequelae.

   5.4 Thromboembolic and Bleeding Events in Patients with Prosthetic Heart Valves
   The safety and efficacy of PRADAXA in patients with bileaflet mechanical prosthetic heart valves was evaluated in the RE-ALIGN trial, in which patients with
   bileaflet mechanical prosthetic heart valves (recently implanted or implanted more than three months prior to enrollment) were randomized to dose adjusted warfarin or
   150, 220, or 300 mg of PRADAXA twice a day. RE-ALIGN was terminated early due to the occurrence of significantly more thromboembolic events (valve
   thrombosis, stroke, transient ischemic attack, and myocardial infarction) and an excess of major bleeding (predominantly post-operative pericardial effusions requiring
   intervention for hemodynamic compromise) in the PRADAXA treatment arm as compared to the warfarin treatment arm. These bleeding and thromboembolic events
   were seen both in patients who were initiated on PRADAXA post-operatively within three days of mechanical bileaflet valve implantation, as well as in patients whose
   valves had been implanted more than three months prior to enrollment. Therefore, the use of PRADAXA is contraindicated in patients with mechanical prosthetic
   valves [see Contraindications (4)].

   The use of PRADAXA for the prophylaxis of thromboembolic events in patients with atrial fibrillation in the setting of other forms of valvular heart disease, including
   the presence of a bioprosthetic heart valve, has not been studied and is not recommended.

   5.5 Effect of P-gp Inducers and Inhibitors on Dabigatran Exposure
   The concomitant use of PRADAXA with P-gp inducers (e.g., rifampin) reduces exposure to dabigatran and should generally be avoided [see Clinical Pharmacology
   (12.3)].




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   P-gp inhibition and impaired renal function are the major independent factors that result in increased exposure to dabigatran [see Clinical Pharmacology (12.3)].
   Concomitant use of P-gp inhibitors in patients with renal impairment is expected to produce increased exposure of dabigatran compared to that seen with either factor
   alone.

   Reduction of Risk of Stroke and Systemic Embolism in Non-valvular Atrial Fibrillation
   Reduce the dose of PRADAXA to 75 mg twice daily when dronedarone or systemic ketoconazole is coadministered with PRADAXA in patients with moderate renal
   impairment (CrCl 30-50 mL/min). Avoid use of PRADAXA and P-gp inhibitors in patients with severe renal impairment (CrCl 15-30 mL/min) [see Drug Interactions
   (7.1) and Use in Specific Populations (8.6)].

   Treatment and Reduction in the Risk of Recurrence of Deep Venous Thrombosis and Pulmonary Embolism
   Avoid use of PRADAXA and concomitant P-gp inhibitors in patients with CrCl <50 mL/min [see Drug Interactions (7.2) and Use in Specific Populations (8.6)].

   Prophylaxis of Deep Vein Thrombosis and Pulmonary Embolism Following Hip Replacement Surgery
   Avoid use of PRADAXA and concomitant P-gp inhibitors in patients with CrCl <50 mL/min [see Drug Interactions (7.3) and Use in Specific Populations (8.6)].
   6         ADVERSE REACTIONS

   The following serious adverse reactions are described elsewhere in the labeling:
             Increased Risk of Thrombotic Events after Premature Discontinuation [see Warnings and Precautions (5.1)]
             Risk of Bleeding [see Warnings and Precautions (5.2)]
             Spinal/Epidural Anesthesia or Puncture [see Warnings and Precautions (5.3)]
             Thromboembolic and Bleeding Events in Patients with Prosthetic Heart Valves [see Warnings and Precautions (5.4)]

   The most serious adverse reactions reported with PRADAXA were related to bleeding [see Warnings and Precautions (5.2)].

   6.1 Clinical Trials Experience
   Because clinical trials are conducted under widely varying conditions, adverse reactions rates observed in the clinical trials of a drug cannot be directly compared to
   rates in the clinical trials of another drug and may not reflect the rates observed in practice.

   Reduction of Risk of Stroke and Systemic Embolism in Non-valvular Atrial Fibrillation
   The RE-LY (Randomized Evaluation of Long-term Anticoagulant Therapy) study provided safety information on the use of two doses of PRADAXA and warfarin [see
   Clinical Studies (14.1)]. The numbers of patients and their exposures are described in Table 1. Limited information is presented on the 110 mg dosing arm because this
   dose is not approved.
   Table 1    Summary of Treatment Exposure in RE-LY
                                       PRADAXA 110 mg twice daily             PRADAXA 150 mg twice daily                 Warfarin
   Total number treated                         5983                                   6059                               5998
   Exposure
              > 12 months                             4936                                  4939                            5193
              > 24 months                             2387                                  2405                            2470
   Mean exposure (months)                             20.5                                  20.3                            21.3
   Total patient-years                               10,242                                10,261                          10,659

   Drug Discontinuation in RE-LY
   The rates of adverse reactions leading to treatment discontinuation were 21% for PRADAXA 150 mg and 16% for warfarin. The most frequent adverse reactions
   leading to discontinuation of PRADAXA were bleeding and gastrointestinal events (i.e., dyspepsia, nausea, upper abdominal pain, gastrointestinal hemorrhage, and
   diarrhea).




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   Bleeding [see Warnings and Precautions (5.2)]
   Table 2 shows the number of adjudicated major bleeding events during the treatment period in the RE-LY study, with the bleeding rate per 100 subject-years (%).
   Major bleeding is defined as bleeding accompanied by one or more of the following: a decrease in hemoglobin of ≥2 g/dL, a transfusion of ≥2 units of packed red blood
   cells, bleeding at a critical site or with a fatal outcome. Intracranial hemorrhage included intracerebral (hemorrhagic stroke), subarachnoid, and subdural bleeds.
   Table 2     Adjudicated Major Bleeding Events in Treated Patientsa
   Event                                   PRADAXA 150 mg                     Warfarin                   PRADAXA 150 mg
                                              N = 6059                        N = 5998                     vs. Warfarin
                                             n (%/yearb)                     n (%/yearb)                   HR (95% CI)
   Major Bleedingc                              350 (3.47)                    374 (3.58)                   0.97 (0.84, 1.12)

       Intracranial Hemorrhage (ICH)d            23 (0.22)                     82 (0.77)                   0.29 (0.18, 0.46)

         Hemorrhagic Strokee                     6 (0.06)                      40 (0.37)                   0.16 (0.07, 0.37)

         Other ICH                               17 (0.17)                     46 (0.43)                   0.38 (0.22, 0.67)

       Gastrointestinal                         162 (1.59)                    111 (1.05)                   1.51 (1.19, 1.92)

       Fatal Bleedingf                           7 (0.07)                      16 (0.15)                   0.45 (0.19, 1.10)

         ICH                                     3 (0.03)                      9 (0.08)                    0.35 (0.09, 1.28)

         Non-intracranialg                       4 (0.04)                      7 (0.07)                    0.59 (0.17, 2.02)
   a
     Patients during treatment or within 2 days of stopping study treatment. Major bleeding events within each subcategory were counted once per patient, but patients may
   have contributed events to multiple subcategories.
   b
     Annual event rate per 100 pt-years = 100 * number of subjects with event/subject-years. Subject-years is defined as cumulative number of days from first drug intake
   to event date, date of last drug intake + 2, death date (whatever occurred first) across all treated subjects divided by 365.25. In case of recurrent events of the same
   category, the first event was considered.
   c
     Defined as bleeding accompanied by one or more of the following: a decrease in hemoglobin of ≥2 g/dL, a transfusion of 2 or more units of packed red blood cells,
   bleeding at a critical site or with fatal outcome.
   d
     Intracranial bleed included intracerebral (hemorrhagic stroke), subarachnoid, and subdural bleeds.
   e
     On-treatment analysis based on the safety population, compared to ITT analysis presented in Section 14 Clinical Studies.
   f
    Fatal bleed: Adjudicated major bleed as defined above with investigator reported fatal outcome and adjudicated death with primary cause from bleeding.
   g
     Non-intracranial fatal bleed: Adjudicated major bleed as defined above and adjudicated death with primary cause from bleeding but without symptomatic intracranial
   bleed based on investigator’s clinical assessment.

   There was a higher rate of any gastrointestinal bleeds in patients receiving PRADAXA 150 mg than in patients receiving warfarin (6.6% vs. 4.2%, respectively).

   The risk of major bleeds was similar with PRADAXA 150 mg and warfarin across major subgroups defined by baseline characteristics (see Figure 1), with the
   exception of age, where there was a trend towards a higher incidence of major bleeding on PRADAXA (hazard ratio 1.2, 95% CI: 1.0 to 1.5) for patients ≥75 years of
   age.




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   Figure 1 Adjudicated Major Bleeding by Baseline Characteristics Including Hemorrhagic Stroke Treated Patients




              Note: The figure above presents effects in various subgroups all of which are baseline characteristics and all of which were pre-specified. The 95%
              confidence limits that are shown do not take into account how many comparisons were made, nor do they reflect the effect of a particular factor after
              adjustment for all other factors. Apparent homogeneity or heterogeneity among groups should not be over-interpreted.

   Gastrointestinal Adverse Reactions
   Patients on PRADAXA 150 mg had an increased incidence of gastrointestinal adverse reactions (35% vs. 24% on warfarin). These were commonly dyspepsia
   (including abdominal pain upper, abdominal pain, abdominal discomfort, and epigastric discomfort) and gastritis-like symptoms (including GERD, esophagitis, erosive
   gastritis, gastric hemorrhage, hemorrhagic gastritis, hemorrhagic erosive gastritis, and gastrointestinal ulcer).

   Hypersensitivity Reactions
   In the RE-LY study, drug hypersensitivity (including urticaria, rash, and pruritus), allergic edema, anaphylactic reaction, and anaphylactic shock were reported in
   <0.1% of patients receiving PRADAXA.

   Treatment and Reduction in the Risk of Recurrence of Deep Venous Thrombosis and Pulmonary Embolism
   PRADAXA was studied in 4387 patients in 4 pivotal, parallel, randomized, double-blind trials. Three of these trials were active-controlled (warfarin)
   (RE-COVER, RE-COVER II, and RE-MEDY), and one study (RE-SONATE) was placebo-controlled. The demographic characteristics were similar among the 4



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   pivotal studies and between the treatment groups within these studies. Approximately 60% of the treated patients were male, with a mean age of 55.1 years. The
   majority of the patients were white (87.7%), 10.3% were Asian, and 1.9% were black with a mean CrCl of 105.6 mL/min.

   Bleeding events for the 4 pivotal studies were classified as major bleeding events if at least one of the following criteria applied: fatal bleeding, symptomatic bleeding in
   a critical area or organ (intraocular, intracranial, intraspinal or intramuscular with compartment syndrome, retroperitoneal bleeding, intra-articular bleeding, or
   pericardial bleeding), bleeding causing a fall in hemoglobin level of 2.0 g/dL (1.24 mmol/L or more, or leading to transfusion of 2 or more units of whole blood or red
   cells).

   RE-COVER and RE-COVER II studies compared PRADAXA 150 mg twice daily and warfarin for the treatment of deep vein thrombosis and pulmonary embolism.
   Patients received 5-10 days of an approved parenteral anticoagulant therapy followed by 6 months, with mean exposure of 164 days, of oral only treatment; warfarin
   was overlapped with parenteral therapy. Table 3 shows the number of patients experiencing bleeding events in the pooled analysis of RE-COVER and RE-COVER II
   studies during the full treatment including parenteral and oral only treatment periods after randomization.
   Table 3      Bleeding Events in RE-COVER and RE-COVER II Treated Patients

                                                                  Bleeding Events-Full Treatment Period
                                                                     Including Parenteral Treatment

                                                        PRADAXA
                                                                                   Warfarin               Hazard Ratio
                                                     150 mg twice daily
                                                                                    N (%)                  (95% CI)c
                                                          N (%)

   Patients                                                N=2553                   N=2554

   Major bleeding eventa                                   37 (1.4)                 51 (2.0)             0.73 (0.48, 1.11)

       Fatal bleeding                                      1 (0.04)                  2 (0.1)

       Bleeding in a critical area or organ                 7 (0.3)                 15 (0.6)

       Fall in hemoglobin ≥2 g/dL or transfusion           32 (1.3)                 38 (1.5)
       ≥2 units of whole blood or packed red
       blood cells
   Bleeding sites for MBEb

       Intracranial                                         2 (0.1)                  5 (0.2)

       Retroperitoneal                                      2 (0.1)                 1 (0.04)

       Intraarticular                                       2 (0.1)                  4 (0.2)

       Intramuscular                                        2 (0.1)                  6 (0.2)

       Gastrointestinal                                    15 (0.6)                 14 (0.5)

       Urogenital                                           7 (0.3)                 14 (0.5)

       Other                                                8 (0.3)                  8 (0.3)

   Clinically relevant non-major bleeding                 101 (4.0)                 170 (6.7)            0.58 (0.46, 0.75)

   Any bleeding                                           411 (16.1)               567 (22.7)            0.70 (0.61, 0.79)

   Note: MBE can belong to more than one criterion.
   a
     Patients with at least one MBE.
   b
     Bleeding site based on investigator assessment. Patients can have more than one site of bleeding.
   c
     Confidence interval

   The rate of any gastrointestinal bleeds in patients receiving PRADAXA 150 mg in the full treatment period was 3.1% (2.4% on warfarin).

   The RE-MEDY and RE-SONATE studies provided safety information on the use of PRADAXA for the reduction in the risk of recurrence of deep vein thrombosis and
   pulmonary embolism.

   RE-MEDY was an active-controlled study (warfarin) in which 1430 patients received PRADAXA 150 mg twice daily following 3 to 12 months of oral anticoagulant
   regimen. Patients in the treatment studies who rolled over into the RE-MEDY study had a combined treatment duration of up to more than 3 years, with mean exposure
   of 473 days. Table 4 shows the number of patients experiencing bleeding events in the study.




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   Table 4      Bleeding Events in RE-MEDY Treated Patients
                                                        PRADAXA
                                                                                   Warfarin               Hazard Ratio
                                                     150 mg twice daily
                                                                                    N (%)                  (95% CI)c
                                                          N (%)
   Patients                                                N=1430                   N=1426
                              a
   Major bleeding event                                    13 (0.9)                 25 (1.8)             0.54 (0.25, 1.16)
       Fatal bleeding                                         0                      1 (0.1)
       Bleeding in a critical area or organ                7 (0.5)                  11 (0.8)
       Fall in hemoglobin ≥2 g/dL or transfusion
       ≥2 units of whole blood or packed red               7 (0.5)                  16 (1.1)
       blood cells

   Bleeding sites for MBEb

       Intracranial                                        2 (0.1)                   4 (0.3)
       Intraocular                                         4 (0.3)                   2 (0.1)
       Retroperitoneal                                        0                      1 (0.1)
       Intraarticular                                         0                      2 (0.1)
       Intramuscular                                          0                      4 (0.3)
       Gastrointestinal                                    4 (0.3)                   8 (0.6)
       Urogenital                                          1 (0.1)                   1 (0.1)
       Other                                               2 (0.1)                   4 (0.3)

   Clinically relevant non-major bleeding                  71 (5.0)                125 (8.8)             0.56 (0.42, 0.75)

   Any bleeding                                           278 (19.4)               373 (26.2)            0.71 (0.61, 0.83)
   Note: MBE can belong to more than one criterion.
   a
     Patients with at least one MBE.
   b
     Bleeding site based on investigator assessment. Patients can have more than one site of bleeding.
   c
     Confidence interval

   In the RE-MEDY study, the rate of any gastrointestinal bleeds in patients receiving PRADAXA 150 mg was 3.1% (2.2% on warfarin).

   RE-SONATE was a placebo-controlled study in which 684 patients received PRADAXA 150 mg twice daily following 6 to 18 months of oral anticoagulant regimen.
   Patients in the treatment studies who rolled over into the RE-SONATE study had combined treatment duration up to 9 months, with mean exposure of 165 days. Table
   5 shows the number of patients experiencing bleeding events in the study.
   Table 5      Bleeding Events in RE-SONATE Treated Patients

                                                        PRADAXA
                                                                                    Placebo               Hazard Ratio
                                                     150 mg twice daily
                                                                                     N (%)                 (95% CI)c
                                                          N (%)

   Patients                                                N=684                    N=659
                              a
   Major bleeding event                                    2 (0.3)                     0
       Bleeding in a critical area or organ                   0                        0
                          b
       Gastrointestinal                                    2 (0.3)                     0

   Clinically relevant non-major bleeding                  34 (5.0)                 13 (2.0)             2.54 (1.34, 4.82)

   Any bleeding                                           72 (10.5)                 40 (6.1)             1.77 (1.20, 2.61)
   Note: MBE can belong to more than one criterion.
   a
     Patients with at least one MBE.
   b
     Bleeding site based on investigator assessment. Patients can have more than one site of bleeding.
   c
     Confidence interval

   In the RE-SONATE study, the rate of any gastrointestinal bleeds in patients receiving PRADAXA 150 mg was 0.7% (0.3% on placebo).

   Clinical Myocardial Infarction Events
   In the active-controlled VTE studies, a higher rate of clinical myocardial infarction was reported in patients who received PRADAXA [20 (0.66 per 100 patient-years)]
   than in those who received warfarin [5 (0.17 per 100 patient-years)]. In the placebo-controlled study, a similar rate of non-fatal and fatal clinical myocardial infarction
   was reported in patients who received PRADAXA [1 (0.32 per 100 patient-years)] and in those who received placebo [1 (0.34 per 100 patient-years)].




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   Gastrointestinal Adverse Reactions
   In the four pivotal studies, patients on PRADAXA 150 mg had a similar incidence of gastrointestinal adverse reactions (24.7% vs. 22.7% on warfarin). Dyspepsia
   (including abdominal pain upper, abdominal pain, abdominal discomfort, and epigastric discomfort) occurred in patients on PRADAXA in 7.5% vs. 5.5% on warfarin,
   and gastritis-like symptoms (including gastritis, GERD, esophagitis, erosive gastritis and gastric hemorrhage) occurred at 3.0% vs. 1.7%, respectively.

   Hypersensitivity Reactions
   In the 4 pivotal studies, drug hypersensitivity (including urticaria, rash, and pruritus), allergic edema, anaphylactic reaction, and anaphylactic shock were reported in
   0.1% of patients receiving PRADAXA.

   Prophylaxis of Deep Vein Thrombosis and Pulmonary Embolism Following Hip Replacement Surgery
   PRADAXA was studied in 5476 patients, randomized and treated in two double-blind, active-controlled non-inferiority trials (RE-NOVATE and RE-NOVATE II).
   The demographic characteristics were similar across the two studies and between the treatment groups within these studies. Approximately 45.3 % of the treated
   patients were male, with a mean age of 63.2 years. The majority of the patients were white (96.1%), 3.6% were Asian, and 0.3% were black with a mean CrCl of 92
   mL/min.

   Bleeding events for the RE-NOVATE and RE-NOVATE II studies were classified as major bleeding events if at least one of the following criteria applied: fatal
   bleeding, symptomatic bleeding in a critical area or organ (intraocular, intracranial, intraspinal or retroperitoneal bleeding), bleeding causing a fall in hemoglobin level
   of 2.0 g/dL (1.24 mmol/L) or more, or leading to transfusion of 2 or more units of whole blood or red cells, requiring treatment cessation or leading to re-operation.

   The RE-NOVATE study compared PRADAXA 75 mg taken orally 1-4 hours after surgery followed by 150 mg once daily, PRADAXA 110 mg taken orally 1-4 hours
   after surgery followed by 220 mg once daily and subcutaneous enoxaparin 40 mg once daily initiated the evening before surgery for the prophylaxis of deep vein
   thrombosis and pulmonary embolism in patients who had undergone hip replacement surgery. The RE-NOVATE II study compared PRADAXA 110 mg taken orally
   1-4 hours after surgery followed by 220 mg once daily and subcutaneous enoxaparin 40 mg once daily initiated the evening before surgery for the prophylaxis of deep
   vein thrombosis and pulmonary embolism in patients who had undergone hip replacement surgery. In the RE-NOVATE and RE-NOVATE II studies, patients received
   28-35 days of PRADAXA or enoxaparin with median exposure of 33 days. Tables 6 and 7 show the number of patients experiencing bleeding events in the analysis of
   RE-NOVATE and RE-NOVATE II.


   Table 6     Bleeding Events in RE-NOVATE Treated Patients

                                                       PRADAXA 220 mg                              Enoxaparin
                                                           N (%)                                     N (%)
    Patients                                               N=1146                                   N=1154
    Major bleeding event                                     23 (2.0)                                18 (1.6)
    Clinically relevant non-major bleeding                   48 (4.2)                                40 (3.5)
    Any bleeding                                            141 (12.3)                              132 (11.4)


   Table 7     Bleeding Events in RE-NOVATE II Treated Patients
                                                       PRADAXA 220 mg                              Enoxaparin
                                                           N (%)                                     N (%)
    Patients                                               N=1010                                   N=1003
    Major bleeding event                                     14 (1.4)                                 9 (0.9)
    Clinically relevant non-major bleeding                    26 (2.6)                               20 (2.0)
    Any bleeding                                             98 (9.7)                                83 (8.3)

   In the two studies, the rate of major gastrointestinal bleeds in patients receiving PRADAXA and enoxaparin was the same (0.1%) and for any gastrointestinal bleeds
   was 1.4% for PRADAXA 220 mg and 0.9% for enoxaparin.

   Gastrointestinal Adverse Reactions
   In the two studies, the incidence of gastrointestinal adverse reactions for patients on PRADAXA 220 mg and enoxaparin was 39.5% and 39.5%, respectively.
   Dyspepsia (including abdominal pain upper, abdominal pain, abdominal discomfort, and epigastric discomfort) occurred in patients on PRADAXA 220 mg in 4.1% vs.
   3.8% on enoxaparin, and gastritis-like symptoms (including gastritis, GERD, esophagitis, erosive gastritis and gastric hemorrhage) occurred at 0.6% vs. 1.0%,
   respectively.

   Hypersensitivity Reactions
   In the two studies, drug hypersensitivity (such as urticaria, rash, and pruritus) was reported in 0.3% of patients receiving PRADAXA 220 mg.

   Clinical Myocardial Infarction Events
   In the two studies, clinical myocardial infarction was reported in 2 (0.1%) of patients who received PRADAXA 220 mg and 6 (0.3%) of patients who received
   enoxaparin.

   6.2 Postmarketing Experience
   The following adverse reactions have been identified during post approval use of PRADAXA. Because these reactions are reported voluntarily from a population of
   uncertain size, it is not always possible to reliably estimate their frequency or establish a causal relationship to drug exposure. The following adverse reactions have
   been identified during post approval use of PRADAXA: angioedema, thrombocytopenia, esophageal ulcer.

   7        DRUG INTERACTIONS
   7.1 Reduction of Risk of Stroke and Systemic Embolism in Non-valvular Atrial Fibrillation
   The concomitant use of PRADAXA with P-gp inducers (e.g., rifampin) reduces exposure to dabigatran and should generally be avoided [see Clinical Pharmacology
   (12.3)].



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   P-gp inhibition and impaired renal function are the major independent factors that result in increased exposure to dabigatran [see Clinical Pharmacology (12.3)].
   Concomitant use of P-gp inhibitors in patients with renal impairment is expected to produce increased exposure of dabigatran compared to that seen with either factor
   alone.

   In patients with moderate renal impairment (CrCl 30-50 mL/min), reduce the dose of PRADAXA to 75 mg twice daily when administered concomitantly with the P-gp
   inhibitors dronedarone or systemic ketoconazole. The use of the P-gp inhibitors verapamil, amiodarone, quinidine, clarithromycin, and ticagrelor does not require a dose
   adjustment of PRADAXA. These results should not be extrapolated to other P-gp inhibitors [see Warnings and Precautions (5.5), Use in Specific Populations (8.6),
   and Clinical Pharmacology (12.3)].

   The concomitant use of PRADAXA and P-gp inhibitors in patients with severe renal impairment (CrCl 15-30 mL/min) should be avoided [see Warnings and
   Precautions (5.5), Use in Specific Populations (8.6), and Clinical Pharmacology (12.3)].

   7.2 Treatment and Reduction in the Risk of Recurrence of Deep Venous Thrombosis and Pulmonary Embolism
   Avoid use of PRADAXA and P-gp inhibitors in patients with CrCl <50 mL/min [see Warnings and Precautions (5.5), Use in Specific Populations (8.6), and Clinical
   Pharmacology (12.3)].

   7.3 Prophylaxis of Deep Vein Thrombosis and Pulmonary Embolism Following Hip Replacement Surgery
   In patients with CrCl ≥50 mL/min who have concomitant administration of P-gp inhibitors such as dronedarone or systemic ketoconazole, it may be helpful to separate
   the timing of administration of dabigatran and the P-gp inhibitor by several hours. The concomitant use of PRADAXA and P-gp inhibitors in patients with CrCl <50
   mL/min should be avoided [see Warnings and Precautions (5.5), Use in Specific Populations (8.6) and Clinical Pharmacology (12.2, 12.3)].

   8       USE IN SPECIFIC POPULATIONS
   8.1 Pregnancy
   Pregnancy Category C
   There are no adequate and well-controlled studies in pregnant women.

   Dabigatran has been shown to decrease the number of implantations when male and female rats were treated at a dosage of 70 mg/kg (about 2.6 to 3.0 times the human
   exposure at maximum recommended human dose [MRHD] of 300 mg/day based on area under the curve [AUC] comparisons) prior to mating and up to implantation
   (gestation Day 6). Treatment of pregnant rats after implantation with dabigatran at the same dose increased the number of dead offspring and caused excess
   vaginal/uterine bleeding close to parturition. Although dabigatran increased the incidence of delayed or irregular ossification of fetal skull bones and vertebrae in the
   rat, it did not induce major malformations in rats or rabbits.

   8.2 Labor and Delivery
   Safety and effectiveness of PRADAXA during labor and delivery have not been studied in clinical trials. Consider the risks of bleeding and of stroke in using
   PRADAXA in this setting [see Warnings and Precautions (5.2)].

   Death of offspring and mother rats during labor in association with uterine bleeding occurred during treatment of pregnant rats from implantation (gestation Day 7) to
   weaning (lactation Day 21) with dabigatran at a dose of 70 mg/kg (about 2.6 times the human exposure at MRHD of 300 mg/day based on AUC comparisons).

   8.3 Nursing Mothers
   It is not known whether dabigatran is excreted in human milk. Because many drugs are excreted in human milk and because of the potential for serious adverse
   reactions in nursing infants from PRADAXA, a decision should be made whether to discontinue nursing or to discontinue the drug, taking into account the importance
   of the drug to the mother.

   8.4 Pediatric Use
   Safety and effectiveness of PRADAXA in pediatric patients have not been established.

   8.5 Geriatric Use
   Of the total number of patients in the RE-LY study, 82% were 65 and over, while 40% were 75 and over. The risk of stroke and bleeding increases with age, but the
   risk-benefit profile is favorable in all age groups [see Warnings and Precautions (5), Adverse Reactions (6.1), and Clinical Studies (14.1)].

   8.6 Renal Impairment
   Reduction of Risk of Stroke and Systemic Embolism in Non-valvular Atrial Fibrillation
   No dose adjustment of PRADAXA is recommended in patients with mild or moderate renal impairment [see Clinical Pharmacology (12.3)]. Reduce the dose of
   PRADAXA in patients with severe renal impairment (CrCl 15-30 mL/min) [see Dosage and Administration (2.1, 2.2) and Clinical Pharmacology (12.3)]. Dosing
   recommendations for patients with CrCl <15 mL/min or on dialysis cannot be provided.

   Adjust dose appropriately in patients with renal impairment receiving concomitant P-gp inhibitors [see Warnings and Precautions (5.5), Drug Interactions (7.1), and
   Clinical Pharmacology (12.3)].

   Treatment and Reduction in the Risk of Recurrence of Deep Venous Thrombosis and Pulmonary Embolism
   Patients with severe renal impairment (CrCl ≤30 mL/min) were excluded from RE-COVER.

   Dosing recommendations for patients with CrCl ≤30 mL/min or on dialysis cannot be provided. Avoid use of PRADAXA with concomitant P-gp inhibitors in patients
   with CrCl <50 mL/min [see Warnings and Precautions (5.5), Drug Interactions (7.2), and Clinical Pharmacology (12.3)].

   Prophylaxis of Deep Vein Thrombosis and Pulmonary Embolism Following Hip Replacement Surgery
   Patients with severe renal impairment (CrCl <30 mL/min) were excluded from RE-NOVATE and RE-NOVATE II.

   Dosing recommendations for patients with CrCl <30 mL/min or on dialysis cannot be provided.




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   Avoid use of PRADAXA with concomitant P-gp inhibitors in patients with CrCl <50 mL/min [see Warnings and Precautions (5.5), Drug Interactions (7.3) and
   Clinical Pharmacology (12.2, 12.3)].

   10     OVERDOSAGE
   Accidental overdose may lead to hemorrhagic complications. In the event of hemorrhagic complications, initiate appropriate clinical support, discontinue treatment
   with PRADAXA, and investigate the source of bleeding. A specific reversal agent (idarucizumab) is available.

   Dabigatran is primarily eliminated by the kidneys with a low plasma protein binding of approximately 35%. Hemodialysis can remove dabigatran; however, data
   supporting this approach are limited. Using a high-flux dialyzer, blood flow rate of 200 mL/min, and dialysate flow rate of 700 mL/min, approximately 49% of total
   dabigatran can be cleared from plasma over 4 hours. At the same dialysate flow rate, approximately 57% can be cleared using a dialyzer blood flow rate of 300 mL/min,
   with no appreciable increase in clearance observed at higher blood flow rates. Upon cessation of hemodialysis, a redistribution effect of approximately 7% to 15% is
   seen. The effect of dialysis on dabigatran’s plasma concentration would be expected to vary based on patient specific characteristics. Measurement of aPTT or ECT
   may help guide therapy [see Warnings and Precautions (5.2) and Clinical Pharmacology (12.2)].

   11      DESCRIPTION
   The chemical name for dabigatran etexilate mesylate, a direct thrombin inhibitor, is -Alanine, N-[[2-[[[4-[[[(hexyloxy)carbonyl]amino]iminomethyl]
   phenyl]amino]methyl]-1-methyl-1H-benzimidazol-5-yl]carbonyl]-N-2-pyridinyl-,ethyl ester, methanesulfonate. The empirical formula is C34H41N7O5  CH4O3S and the
   molecular weight is 723.86 (mesylate salt), 627.75 (free base). The structural formula is:

                                                                        CH 3



                                     CH 3               O
                                    N              O
                                                        N
                      O
                                    N       N
                                            H
              O           N                             NH 2

                  O           N

              CH 3                                             .   CH 3SO3H


   Dabigatran etexilate mesylate is a yellow-white to yellow powder. A saturated solution in pure water has a solubility of 1.8 mg/mL. It is freely soluble in methanol,
   slightly soluble in ethanol, and sparingly soluble in isopropanol.

   PRADAXA capsules are supplied in 75, 110, and 150 mg strengths for oral administration. Each capsule contains dabigatran etexilate mesylate as the active ingredient:
   172.95 mg dabigatran etexilate mesylate (equivalent to 150 mg dabigatran etexilate), 126.83 mg dabigatran etexilate mesylate (equivalent to 110 mg dabigatran
   etexilate), or 86.48 mg dabigatran etexilate mesylate (equivalent to 75 mg dabigatran etexilate) along with the following inactive ingredients: acacia, dimethicone,
   hypromellose, hydroxypropyl cellulose, talc, and tartaric acid. The capsule shell is composed of carrageenan, hypromellose, potassium chloride, titanium dioxide, black
   edible ink, and FD&C Blue No. 2 (150 mg and 110 mg capsules only), or FD&C Yellow No. 6 (150 mg and 75 mg capsules only).

   12       CLINICAL PHARMACOLOGY
   12.1 Mechanism of Action
   Dabigatran and its acyl glucuronides are competitive, direct thrombin inhibitors. Because thrombin (serine protease) enables the conversion of fibrinogen into fibrin
   during the coagulation cascade, its inhibition prevents the development of a thrombus. Both free and clot-bound thrombin, and thrombin-induced platelet aggregation
   are inhibited by the active moieties.

   12.2 Pharmacodynamics
   At recommended therapeutic doses, dabigatran etexilate prolongs the coagulation markers such as aPTT, ECT, and TT. INR is relatively insensitive to the exposure to
   dabigatran and cannot be interpreted the same way as used for warfarin monitoring.

   The aPTT test provides an approximation of PRADAXA’s anticoagulant effect. The average time course for effects on aPTT, following approved dosing regimens in
   patients with various degrees of renal impairment is shown in Figure 2. The curves represent mean levels without confidence intervals; variations should be expected
   when measuring aPTT. While advice cannot be provided on the level of recovery of aPTT needed in any particular clinical setting, the curves can be used to estimate
   the time to get to a particular level of recovery, even when the time since the last dose of PRADAXA is not precisely known. In the RE-LY trial, the median (10th to
   90th percentile) trough aPTT in patients receiving the 150 mg dose was 52 (40 to 76) seconds.




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   Figure 2 Average Time Course for Effects of Dabigatran on aPTT, Following Approved PRADAXA Dosing Regimens in Patients with Various Degrees of
            Renal Impairment*

                                                 aPTT Time Course
                                                                                 PRADAXA dose
               80
                                                                        150 mg BID when CrCl > 30 mL/min
                                                                         75 mg BID when CrCl  30 mL/min

                        CrCl
                         30 mL/min
               70



                               CrCl
                               >30 and  50 mL/min
    aPTT (s)




               60



                                      CrCl
               50                     > 50 and  80 mL/min


                                                     CrCl
                                                     > 80 mL/min
               40




               30
                    0                  24                          48            72                        96
                                                             Time (h)
   *Simulations based on PK data from a study in subjects with renal impairment and PK/aPTT relationships derived from the RE-LY study; aPTT prolongation in RE-LY
   was measured centrally in citrate plasma using PTT Reagent Roche Diagnostics GmbH, Mannheim, Germany. There may be quantitative differences between various
   established methods for aPTT assessment.

   The degree of anticoagulant activity can also be assessed by the ecarin clotting time (ECT). This test is a more specific measure of the effect of dabigatran than
   activated partial thromboplastin time (aPTT). In the RE-LY trial, the median (10th to 90th percentile) trough ECT in patients receiving the 150 mg dose was 63 (44 to
   103) seconds.

   In orthopedic hip surgery patients, maximum aPTT response (Emax) to dabigatran and baseline aPTT were higher shortly after surgery than at later time points (e.g. ≥3
   days after surgery).

   Cardiac Electrophysiology
   No prolongation of the QTc interval was observed with dabigatran etexilate at doses up to 600 mg.

   12.3 Pharmacokinetics
   Dabigatran etexilate mesylate is absorbed as the dabigatran etexilate ester. The ester is then hydrolyzed, forming dabigatran, the active moiety. Dabigatran is
   metabolized to four different acyl glucuronides and both the glucuronides and dabigatran have similar pharmacological activity. Pharmacokinetics described here refer
   to the sum of dabigatran and its glucuronides. Dabigatran displays dose-proportional pharmacokinetics in healthy subjects and patients in the range of doses from 10 to
   400 mg.

   Absorption
   The absolute bioavailability of dabigatran following oral administration of dabigatran etexilate is approximately 3 to 7%. Dabigatran etexilate is a substrate of the efflux
   transporter P-gp. After oral administration of dabigatran etexilate in healthy volunteers, Cmax occurs at 1 hour post-administration in the fasted state. Coadministration
   of PRADAXA with a high-fat meal delays the time to Cmax by approximately 2 hours but has no effect on the bioavailability of dabigatran; PRADAXA may be
   administered with or without food.

   The oral bioavailability of dabigatran etexilate increases by 75% when the pellets are taken without the capsule shell compared to the intact capsule formulation.
   PRADAXA capsules should therefore not be broken, chewed, or opened before administration.

   Distribution
   Dabigatran is approximately 35% bound to human plasma proteins. The red blood cell to plasma partitioning of dabigatran measured as total radioactivity is less than
   0.3. The volume of distribution of dabigatran is 50 to 70 L. Dabigatran pharmacokinetics are dose proportional after single doses of 10 to 400 mg. Given twice daily,
   dabigatran’s accumulation factor is approximately two.

   Elimination
   Dabigatran is eliminated primarily in the urine. Renal clearance of dabigatran is 80% of total clearance after intravenous administration. After oral administration of
   radiolabeled dabigatran, 7% of radioactivity is recovered in urine and 86% in feces. The half-life of dabigatran in healthy subjects is 12 to 17 hours.

   Metabolism
   After oral administration, dabigatran etexilate is converted to dabigatran. The cleavage of the dabigatran etexilate by esterase-catalyzed hydrolysis to the active
   principal dabigatran is the predominant metabolic reaction. Dabigatran is not a substrate, inhibitor, or inducer of CYP450 enzymes. Dabigatran is subject to
   conjugation forming pharmacologically active acyl glucuronides. Four positional isomers, 1-O, 2-O, 3-O, and 4-O-acylglucuronide exist, and each accounts for less
   than 10% of total dabigatran in plasma.

   Renal Impairment
   An open, parallel-group single-center study compared dabigatran pharmacokinetics in healthy subjects and patients with mild to moderate renal impairment receiving a
   single dose of PRADAXA 150 mg. Exposure to dabigatran increases with severity of renal function impairment (Table 8). Similar findings were observed in the RE­
   LY, RE-COVER and RE-NOVATE II trials.




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   Table 8    Impact of Renal Impairment on Dabigatran Pharmacokinetics
        Renal          CrCl          Increase     Increase in      t1/2
      Function       (mL/min)         in AUC          Cmax         (h)
       Normal           ≥ 80             1x            1x           13
         Mild          50-80            1.5x          1.1x          15
      Moderate         30-50            3.2x          1.7x          18
       Severe+         15-30            6.3x          2.1x          27
   +
     Patients with severe renal impairment were not studied in RE-LY, RE-COVER and RE-NOVATE II. Dosing recommendations in subjects with severe renal
   impairment are based on pharmacokinetic modeling [see Dosage and Administration (2.1, 2.2) and Use in Specific Populations (8.6)].

   Hepatic Impairment
   Administration of PRADAXA in patients with moderate hepatic impairment (Child-Pugh B) showed a large inter-subject variability, but no evidence of a consistent
   change in exposure or pharmacodynamics.

   Drug Interactions
   A summary of the effect of coadministered drugs on dabigatran exposure is shown in Figures 3.1 and 3.2.

   In the orthopedic hip surgery patients, limited clinical data with P-gp inhibitors is available.




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   Figure 3.1 Effect of P-gp Inhibitor or Inducer (rifampicin) Drugs on Peak and Total Exposure to Dabigatran (Cmax and AUC). Shown are the Geometric
              Mean Ratios (Ratio) and 90% Confidence Interval (90% CI). The Perpetrator and Dabigatran Etexilate Dose and Dosing Frequency are given as
              well as the Time of Perpetrator Dosing in Relation to Dabigatran Etexilate Dose (Time Difference)

                Interacting Drug, Time Difference PK                             Fold Change and 90% CI
                P-gp Inhibitors
                Dronedarone 400 mg SD               AUC
                                                    Cm ax
                Dronedarone 400 mg SD, +2[h]        AUC
                                                    Cm ax
                Dronedarone 400 mg bid              AUC
                                                    Cm ax
                Dronedarone 400 mg bid, +2[h]       AUC
                                                    Cm ax


                Ketoconazole 400 mg SD              AUC
                                                    Cm ax
                                                    AUC
                Ketoconazole 400 mg qd
                                                    Cm ax

                Amiodarone 600 mg SD                AUC
                                                    Cm ax


                Clarithromycin 500 mg SD, -1[h]     AUC
                                                    Cm ax
                Clarithromycin 500 mg bid, -1[h]    AUC
                                                    Cm ax


                Quinidine 200 mg 2qh                AUC
                                                    Cm ax


                Ticagrelor 180 mg SD                AUC
                                                    Cm ax
                Ticagrelor 180 mg SD, +2[h]         AUC
                                                    Cm ax
                Ticagrelor 90 mg bid                AUC
                                                    Cm ax

                Verapamil 120 mg IR bid, -1[h]      AUC
                                                    Cm ax
                Verapamil 120 mg IR bid, +2[h]      AUC
                                                    Cm ax
                Verapamil 120 mg IR qd, -1[h]       AUC
                                                    Cm ax
                Verapamil 120 mg IR, -1[h]          AUC
                                                    Cm ax
                Verapamil 120 mg IR                 AUC
                                                    Cm ax
                Verapamil 240 mg ER                 AUC
                                                    Cm ax
                P-gp Inducer
                Rifampicin 600 mg qd, -0.5 [day]    AUC
                                                    Cm ax
                Rifampicin 600 mg qd, -7.5 [day]    AUC
                                                    Cm ax
                Rifampicin 600 mg qd, -14.5 [day]   AUC
                                                    Cm ax
                                                            I
                                                            0.25         0.5                1.0               2.0            4.0
                                                                               Change Relative to Reference




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   Figure 3.2 Effect of Non-P-gp Inhibitor or Inducer, Other Drugs, on Peak and Total Exposure to Dabigatran (Cmax and AUC). Shown are the Geometric
              Mean Ratios (Ratio) and 90% Confidence Interval (90% CI). The Perpetrator and Dabigatran Etexilate Dose and Dosing Frequency are given as
              well as the Time of Perpetrator Dosing in Relation to Dabigatran Etexilate Dose (Time Difference)



              Interacting Drug, Time Difference        PK                           Fold Change and 90% CI


                                                       AUC
              Atorvas tatin 80 mg qd
                                                       Cm ax

              Clopidogrel 300 mg SD                    AUC
                                                       Cm ax
              Clopidogrel 600 mg SD                    AUC
                                                       Cm ax
              Clopidogrel 75 mg qd                     AUC
                                                       Cm ax

              Diclofenac 50 mg SD                      AUC
                                                       Cm ax

              Digoxin 0.25 mg qd                       AUC
                                                       Cm ax
              Enoxaparin 40 mg qd, -24 [h]             AUC
                                                       Cm ax

              Pantoprazole 40 mg bid, -1 [h]           AUC
                                                       Cm ax

              Ranitidine 150 mg qd, -10 [h]            AUC
                                                       Cm ax


                                                                          0.5                1.0                1.5                 2.0
                                                                                    Change Relative to Reference

   In RE-LY, dabigatran plasma samples were also collected. The concomitant use of proton pump inhibitors, H2 antagonists, and digoxin did not appreciably change the
   trough concentration of dabigatran.

   Impact of Dabigatran on Other Drugs
   In clinical studies exploring CYP3A4, CYP2C9, P-gp and other pathways, dabigatran did not meaningfully alter the pharmacokinetics of amiodarone, atorvastatin,
   clarithromycin, diclofenac, clopidogrel, digoxin, pantoprazole, or ranitidine.

   13      NONCLINICAL TOXICOLOGY
   13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
   Dabigatran was not carcinogenic when administered by oral gavage to mice and rats for up to 2 years. The highest doses tested (200 mg/kg/day) in mice and rats were
   approximately 3.6 and 6 times, respectively, the human exposure at MRHD of 300 mg/day based on AUC comparisons.

   Dabigatran was not mutagenic in in vitro tests, including bacterial reversion tests, mouse lymphoma assay and chromosomal aberration assay in human lymphocytes,
   and the in vivo micronucleus assay in rats.

   In the rat fertility study with oral gavage doses of 15, 70, and 200 mg/kg, males were treated for 29 days prior to mating, during mating up to scheduled termination, and
   females were treated 15 days prior to mating through gestation Day 6. No adverse effects on male or female fertility were observed at 200 mg/kg or 9 to 12 times the
   human exposure at MRHD of 300 mg/day based on AUC comparisons. However, the number of implantations decreased in females receiving 70 mg/kg, or 3 times the
   human exposure at MRHD based on AUC comparisons.

   14       CLINICAL STUDIES
   14.1 Reduction of Risk of Stroke and Systemic Embolism in Non-valvular Atrial Fibrillation
   The clinical evidence for the efficacy of PRADAXA was derived from RE-LY (Randomized Evaluation of Long-term Anticoagulant Therapy), a multi-center, multi­
   national, randomized parallel group trial comparing two blinded doses of PRADAXA (110 mg twice daily and 150 mg twice daily) with open-label warfarin (dosed to
   target INR of 2 to 3) in patients with non-valvular, persistent, paroxysmal, or permanent atrial fibrillation and one or more of the following additional risk factors:

             Previous stroke, transient ischemic attack (TIA), or systemic embolism
             Left ventricular ejection fraction <40%
             Symptomatic heart failure, ≥ New York Heart Association Class 2
             Age ≥75 years
             Age ≥65 years and one of the following: diabetes mellitus, coronary artery disease (CAD), or hypertension

   The primary objective of this study was to determine if PRADAXA was non-inferior to warfarin in reducing the occurrence of the composite endpoint, stroke (ischemic
   and hemorrhagic) and systemic embolism. The study was designed to ensure that PRADAXA preserved more than 50% of warfarin’s effect as established by previous
   randomized, placebo-controlled trials of warfarin in atrial fibrillation. Statistical superiority was also analyzed.

   A total of 18,113 patients were randomized and followed for a median of 2 years. The patients’ mean age was 71.5 years and the mean CHADS2 score was 2.1. The
   patient population was 64% male, 70% Caucasian, 16% Asian, and 1% black. Twenty percent of patients had a history of a stroke or TIA and 50% were Vitamin K



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   antagonist (VKA) naïve, defined as less than 2 months total lifetime exposure to a VKA. Thirty-two percent of the population had never been exposed to a VKA.
   Concomitant diseases of patients in this trial included hypertension 79%, diabetes 23%, and CAD 28%. At baseline, 40% of patients were on aspirin and 6% were on
   clopidogrel. For patients randomized to warfarin, the mean percentage of time in therapeutic range (INR 2 to 3) was 64%.

   Relative to warfarin and to PRADAXA 110 mg twice daily, PRADAXA 150 mg twice daily significantly reduced the primary composite endpoint of stroke and
   systemic embolism (see Table 9 and Figure 4).


   Table 9    First Occurrence of Stroke or Systemic Embolism in the RE-LY Study*
                                                            PRADAXA                 PRADAXA               Warfarin
                                                         150 mg twice daily      110 mg twice daily
   Patients randomized                                          6076                    6015               6022
   Patients (%) with events                                  135 (2.2%)              183 (3%)            203 (3.4%)
   Hazard ratio vs. warfarin (95% CI)                     0.65 (0.52, 0.81)       0.89 (0.73, 1.09)
     P-value for superiority                                   0.0001                   0.27
   Hazard ratio vs. PRADAXA 110 mg (95% CI)               0.72 (0.58, 0.91)
     P-value for superiority                                    0.005
   * Randomized ITT


   Figure 4    Kaplan-Meier Curve Estimate of Time to First Stroke or Systemic Embolism




   The contributions of the components of the composite endpoint, including stroke by subtype, are shown in Table 10. The treatment effect was primarily a reduction in
   stroke. PRADAXA 150 mg twice daily was superior in reducing ischemic and hemorrhagic strokes relative to warfarin.
   Table 10   Strokes and Systemic Embolism in the RE-LY Study
                                    PRADAXA              Warfarin         Hazard ratio vs. warfarin
                                 150 mg twice daily                              (95% CI)
    Patients randomized                6076                 6022
    Stroke                              123                 187                0.64 (0.51, 0.81)
      Ischemic stroke                   104                  134               0.76 (0.59, 0.98)
      Hemorrhagic stroke                 12                  45                0.26 (0.14, 0.49)
    Systemic embolism                    13                   21               0.61 (0.30, 1.21)

   In the RE-LY trial, the rate of all-cause mortality was lower on dabigatran 150 mg than on warfarin (3.6% per year versus 4.1% per year). The rate of vascular death
   was lower on dabigatran 150 mg compared to warfarin (2.3% per year versus 2.7% per year). Non-vascular death rates were similar in the treatment arms.

   The efficacy of PRADAXA 150 mg twice daily was generally consistent across major subgroups (see Figure 5).




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   Figure 5   Stroke and Systemic Embolism Hazard Ratios by Baseline Characteristics*




              * Randomized ITT
              Note: The figure above presents effects in various subgroups all of which are baseline characteristics and all of which were pre-specified. The 95%
              confidence limits that are shown do not take into account how many comparisons were made, nor do they reflect the effect of a particular factor after
              adjustment for all other factors. Apparent homogeneity or heterogeneity among groups should not be over-interpreted.


   In RE-LY, a higher rate of clinical myocardial infarction was reported in patients who received PRADAXA (0.7 per 100 patient-years for 150 mg dose) than in those
   who received warfarin (0.6).

   14.2 Treatment and Reduction in the Risk of Recurrence of Deep Venous Thrombosis and Pulmonary Embolism
   In the randomized, parallel group, double-blind trials, RE-COVER and RE-COVER II, patients with deep vein thrombosis and pulmonary embolism received
   PRADAXA 150 mg twice daily or warfarin (dosed to target INR of 2 to 3) following initial treatment with an approved parenteral anticoagulant for 5-10 days.

   In RE-COVER, the median treatment duration during the oral only treatment period was 174 days. A total of 2539 patients (30.9% patients with symptomatic PE with
   or without DVT and 68.9% with symptomatic DVT only) were treated with a mean age of 54.7 years. The patient population was 58.4% male, 94.8% white, 2.6%
   Asian, and 2.6% black. The concomitant diseases of patients in this trial included hypertension (35.9%), diabetes mellitus (8.3%), coronary artery disease (6.5%),
   active cancer (4.8%), and gastric or duodenal ulcer (4.4%). Concomitant medications included agents acting on renin-angiotensin system (25.2%), vasodilators



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   (28.4%), serum lipid-reducing agents (18.2%), NSAIDs (21%), beta-blockers (14.8%), calcium channel blockers (8.5%), ASA (8.6%), and platelet inhibitors excluding
   ASA (0.6%). Patients randomized to warfarin had a mean percentage of time in the INR target range of 2.0 to 3.0 of 60% in RE-COVER study.

   In RE-COVER II, the median treatment duration during the oral only treatment period was 174 days. A total of 2568 patients (31.8% patients with symptomatic PE
   with or without DVT and 68.1% with symptomatic DVT only) were treated with a mean age of 54.9 years. The patient population was 60.6% male, 77.6% white,
   20.9% Asian, and 1.5% black. The concomitant diseases of patients in this trial included hypertension (35.1%), diabetes mellitus (9.8%), coronary artery disease
   (7.1%), active cancer (3.9%), and gastric or duodenal ulcer (3.8%). Concomitant medications included agents acting on renin-angiotensin system (24.2%), vasodilators
   (28.6%), serum lipid-reducing agents (20.0%), NSAIDs (22.3%), beta-blockers (14.8%), calcium channel blockers (10.8%), ASA (9.8%), and platelet inhibitors
   excluding ASA (0.8%). Patients randomized to warfarin had a mean percentage of time in the INR target range of 2.0 to 3.0 of 57% in RE-COVER II study.

   In studies RE-COVER and RE-COVER II, the protocol specified non-inferiority margin (2.75) for the hazard ratio was derived based on the upper limit of the 95%
   confidence interval of the historical warfarin effect. PRADAXA was demonstrated to be non-inferior to warfarin (dosed to target INR of 2 to 3) (Table 11) based on the
   primary composite endpoint (fatal PE or symptomatic non-fatal PE and/or DVT) and retains at least 66.9% (RE-COVER) and 63.9% (RE-COVER II) of the historical
   warfarin effect respectively.
   Table 11 Primary Efficacy Endpoint for RE-COVER and RE-COVER II – Modified ITTa Population
                                                             PRADAXA
                                                                                        Warfarin             Hazard ratio vs.
                                                          150 mg twice daily
                                                                                         N (%)              warfarin (95% CI)
                                                               N (%)
       RE-COVER                                                 N=1274                  N=1265
                                    b
       Primary Composite Endpoint                               34 (2.7)                 32 (2.5)            1.05 (0.65, 1.70)
          Fatal PEc                                             1 (0.1)                  3 (0.2)
          Symptomatic non-fatal PEc                             16 (1.3)                 8 (0.6)
                                         c
          Symptomatic recurrent DVT                             17 (1.3)                 23 (1.8)
       RE-COVER II                                              N=1279                  N=1289
                                    b
       Primary Composite Endpoint                               34 (2.7)                 30 (2.3)            1.13 (0.69, 1.85)
                   c
          Fatal PE                                              3 (0.2)                     0
                                     c
          Symptomatic non-fatal PE                              9 (0.7)                  15 (1.2)
                                         c
          Symptomatic recurrent DVT                             30 (2.3)                 17 (1.3)
   a
     Modified ITT analyses population consists of all randomized patients who received at least one dose of study medication.
   b
     Number of patients with one or more event.
   c
     Number of events. For patients with multiple events each event is counted independently.

   In the randomized, parallel group, double-blind, pivotal trial, RE-MEDY, patients received PRADAXA 150 mg twice daily or warfarin (dosed to target INR of 2 to 3)
   following 3 to 12 months of treatment with anticoagulation therapy for an acute VTE. The median treatment duration during the treatment period was 534 days. A total
   of 2856 patients were treated with a mean age of 54.6 years. The patient population was 61% male, and 90.1% white, 7.9% Asian and 2.0% black. The concomitant
   diseases of patients in this trial included hypertension (38.6%), diabetes mellitus (9.0%), coronary artery disease (7.2%), active cancer (4.2%), and gastric or duodenal
   ulcer (3.8%). Concomitant medications included agents acting on renin-angiotensin system (27.9%), vasodilators (26.7%), serum lipid reducing agents (20.6%),
   NSAIDs (18.3%), beta-blockers (16.3%), calcium channel blockers (11.1%), aspirin (7.7%), and platelet inhibitors excluding ASA (0.9%). Patients randomized to
   warfarin had a mean percentage of time in the INR target range of 2.0 to 3.0 of 62% in the study.

   In study RE-MEDY, the protocol specified non-inferiority margin (2.85) for the hazard ratio was derived based on the point estimate of the historical warfarin effect.
   PRADAXA was demonstrated to be non-inferior to warfarin (dosed to target INR of 2 to 3) (Table 12) based on the primary composite endpoint (fatal PE or
   symptomatic non-fatal PE and/or DVT) and retains at least 63.0% of the historical warfarin effect. If the non-inferiority margin was derived based on the 50% retention
   of the upper limit of the 95% confidence interval, PRADAXA was demonstrated to retain at least 33.4% of the historical warfarin effect based on the composite primary
   endpoint.
   Table 12 Primary Efficacy Endpoint for RE-MEDY – Modified ITTa Population
                                                             PRADAXA
                                                                                        Warfarin
                                                          150 mg twice daily                                 Hazard ratio vs.
                                                                                        N=1426
                                                               N=1430                                       warfarin (95% CI)
                                                                                         N (%)
                                                               N (%)
       Primary Composite Endpointb                              26 (1.8)                 18 (1.3)            1.44 (0.78, 2.64)
                   c
          Fatal PE                                              1 (0.07)                 1 (0.07)
                                     c
          Symptomatic non-fatal PE                              10 (0.7)                 5 (0.4)
          Symptomatic recurrent DVTc                            17 (1.2)                 13 (0.9)
   a
       Modified ITT analyses population consists of all randomized patients who received at least one dose of study medication.
   b
       Number of patients with one or more event.
   c
       Number of events. For patients with multiple events each event is counted independently.

   In a randomized, parallel group, double-blind, pivotal trial, RE-SONATE, patients received PRADAXA 150 mg twice daily or placebo following 6 to 18 months of
   treatment with anticoagulation therapy for an acute VTE. The median treatment duration was 182 days. A total of 1343 patients were treated with a mean age of 55.8
   years. The patient population was 55.5% male, 89.0% white, 9.3% Asian, and 1.7% black. The concomitant diseases of patients in this trial included hypertension
   (38.8%), diabetes mellitus (8.0%), coronary artery disease (6.0%), history of cancer (6.0%), gastric or duodenal ulcer (4.5%), and heart failure (4.6%). Concomitant
   medications included agents acting on renin-angiotensin system (28.7%), vasodilators (19.4%), beta-blockers (18.5%), serum lipid reducing agents (17.9%), NSAIDs


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   (12.1%), calcium channel blockers (8.9%), aspirin (8.3%), and platelet inhibitors excluding ASA (0.7%). Based on the outcome of the primary composite endpoint
   (fatal PE, unexplained death, or symptomatic non-fatal PE and/or DVT), PRADAXA was superior to placebo (Table 13).
   Table 13 Primary Efficacy Endpoint for RE-SONATE – Modified ITTa Population
                                                           PRADAXA
                                                                                      Placebo
                                                        150 mg twice daily                                 Hazard ratio vs.
                                                                                      N=662
                                                             N=681                                        placebo (95% CI)
                                                                                       N (%)
                                                             N (%)
                                                                                                           0.08 (0.02, 0.25)
       Primary Composite Endpointb                            3 (0.4)                 37 (5.6)
                                                                                                           p-value <0.0001
                                            c
         Fatal PE and unexplained death                          0                     2 (0.3)
                                    c
         Symptomatic non-fatal PE                             1 (0.1)                 14 (2.1)
                                        c
         Symptomatic recurrent DVT                            2 (0.3)                 23 (3.5)
   a
     Modified ITT analyses population consists of all randomized patients who received at least one dose of study medication.
   b
     Number of patients with one or more events.
   c
     Number of events. For patients with multiple events each event is counted independently.

   14.3 Prophylaxis of Deep Vein Thrombosis and Pulmonary Embolism Following Hip Replacement Surgery
   In the randomized, parallel group, double-blind, non-inferiority trials, RE-NOVATE and RE-NOVATE II patients received PRADAXA 75 mg orally 1-4 hours after
   surgery followed by 150 mg daily (RE-NOVATE), PRADAXA 110 mg orally 1-4 hours after surgery followed by 220 mg daily (RE-NOVATE and RE-NOVATE II)
   or subcutaneous enoxaparin 40 mg once daily initiated the evening before surgery (RE-NOVATE and RE-NOVATE II) for the prophylaxis of deep vein thrombosis and
   pulmonary embolism in patients who have undergone hip replacement surgery.

   Overall, in RE-NOVATE and RE-NOVATE II, the median treatment duration was 33 days for PRADAXA and 33 days for enoxaparin. A total of 5428 patients were
   treated with a mean age of 63.2 years. The patient population was 45.3% male, 96.1% white, 3.6% Asian, and 0.4 % black. The concomitant diseases of patients in
   these trials included hypertension (46.1%), venous insufficiency (15.4%), coronary artery disease (8.2%), diabetes mellitus (7.9%), reduced renal function (5.3%), heart
   failure (3.4%), gastric or duodenal ulcer (3.0%), VTE (2.7%), and malignancy (0.1%). Concomitant medications included cardiac therapy (69.7%), NSAIDs (68%),
   vasoprotectives (29.7%), agents acting on renin-angiotensin system (29.1%), beta-blockers (21.5%), diuretics (20.8%), lipid modifying agents (18.2%), any
   antithrombin/anticoagulant (16.0%), calcium channel blockers (13.6%), low molecular weight heparin (7.8%), aspirin (7.0%), platelet inhibitors excluding ASA (6.9%),
   other antihypertensives (6.7%), and peripheral vasodilators (2.6%).

   For efficacy evaluation all patients were to have bilateral venography of the lower extremities at 3 days after last dose of study drug unless an endpoint event had
   occurred earlier in the study. In the primary efficacy analysis, PRADAXA 110 mg orally 1-4 hours after surgery followed by 220 mg daily was non-inferior to
   enoxaparin 40 mg once daily in a composite endpoint of confirmed VTE (proximal or distal DVT on venogram, confirmed symptomatic DVT, or confirmed PE) and all
   cause death during the treatment period (Tables 14 and 15). In the studies 2628 (76.5%) patients in RE-NOVATE and 1572 (78.9%) patients in RE-NOVATE II had
   evaluable venograms at study completion.




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   Table 14 Primary Efficacy Endpoint for RE-NOVATE
                                                                       PRADAXA
                                                                                                    Enoxaparin
                                                                        220 mg
                                                                                                      N (%)
                                                                         N (%)
   Number of Patientsa                                                    N=880                       N= 897
   Primary Composite Endpoint                                            53 (6.0)                     60 (6.7)
   Risk difference (%) vs. enoxaparin (95% CI)                        -0.7 (-2.9, 1.6)

   Number of Patients                                                     N=909                        N=917
                                     b
   Composite endpoint of major VTE and VTE related
                                                                         28 (3.1)                     36 (3.9)
   mortality

       Number of Patients                                                 N=905                        N=914
       Proximal DVT                                                      23 (2.5)                     33 (3.6)

       Number of Patients                                                 N=874                        N=894
       Total DVT                                                         46 (5.3)                     57 (6.4)

       Number of Patients                                                N=1137                       N=1142
       Symptomatic DVT                                                    6 (0.5)                      1 (0.1)
       PE                                                                 5 (0.4)                      3 (0.3)
       Death                                                              3 (0.3)                         0
   a
    Full Analysis Set (FAS): The FAS included all randomized patients who received at least one subcutaneous injection or one oral dose of study
   medication, underwent surgery and subjects for whom the presence or absence of an efficacy outcome at the end of the study was known, i.e., an evaluable negative
   venogram for both distal and proximal DVT in both legs or any of the following: positive venography in one or both legs, or confirmed symptomatic DVT, PE, or death
   during the treatment period.
   b
     VTE is defined as proximal DVT and PE


   Table 15 Primary Efficacy Endpoint for RE-NOVATE II
                                                                       PRADAXA
                                                                                                    Enoxaparin
                                                                        220 mg
                                                                                                      N (%)
                                                                         N (%)
   Number of Patientsa                                                    N=792                        N= 786
   Primary Composite Endpoint                                            61 (7.7)                     69 (8.8)
   Risk difference (%) vs. enoxaparin (95% CI)                        -1.1 (-3.8, 1.6)
   Number of Patients                                                     N=805                        N=795
                                     b
   Composite endpoint of major VTE and VTE related
                                                                         18 (2.2)                     33 (4.2)
   mortality
       Number of Patients                                                 N=804                        N=793
       Proximal DVT                                                      17 (2.1)                     31 (3.9)
       Number of Patients                                                 N=791                        N=784
       Total DVT                                                         60 (7.6)                     67 (8.5)
       Number of Patients                                                N=1001                        N=992
       Symptomatic DVT                                                       0                         4 (0.4)
       PE                                                                 1 (0.1)                      2 (0.2)
       Death                                                                 0                         1 (0.1)
   a
    Full Analysis Set (FAS): The FAS included all randomized patients who received at least one subcutaneous injection or one oral dose of study
   medication, underwent surgery and subjects for whom the presence or absence of an efficacy outcome at the end of the study was known, i.e., an evaluable negative
   venogram for both distal and proximal DVT in both legs or any of the following: positive venography in one or both legs, or confirmed symptomatic DVT, PE, or death
   during the treatment period.
   b
     VTE is defined as proximal DVT and PE


   16     HOW SUPPLIED/STORAGE AND HANDLING
   PRADAXA 75 mg capsules have a cream-colored opaque cap imprinted with the Boehringer Ingelheim company symbol and a cream-colored opaque body imprinted
   with “R75”. The color of the imprinting is black. The capsules are supplied in the packages listed:
        NDC 0597-0149-54          Unit of use bottle of 60 capsules
        NDC 0597-0149-60          Blister package containing 60 capsules (10 x 6 capsule blister cards)



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   PRADAXA 110 mg capsules have a light blue opaque cap imprinted with the Boehringer Ingelheim company symbol and a light blue opaque body imprinted with
   “R110”. The color of the imprinting is black. The capsules are supplied in the packages listed:
       NDC 0597-0108-54           Unit of use bottle of 60 capsules
       NDC 0597-0108-60           Blister package containing 60 capsules (10 x 6 capsule blister cards)

   PRADAXA 150 mg capsules have a light blue opaque cap imprinted with the Boehringer Ingelheim company symbol and a cream-colored opaque body imprinted with
   “R150”. The color of the imprinting is black. The capsules are supplied in the packages listed:
       NDC 0597-0135-54           Unit of use bottle of 60 capsules
       NDC 0597-0135-60           Blister package containing 60 capsules (10 x 6 capsule blister cards)

   Bottles
   Store at 25°C (77°F); excursions permitted to 15° to 30°C (59° to 86°F). Once opened, the product must be used within 4 months. Keep the bottle tightly closed. Store
   in the original package to protect from moisture.

   Blisters
   Store at 25°C (77°F); excursions permitted to 15° to 30°C (59° to 86°F). Store in the original package to protect from moisture.

   Keep out of the reach of children.

   17      PATIENT COUNSELING INFORMATION
   Advise the patient to read the FDA-approved patient labeling (Medication Guide).

   17.1 Instructions for Patients
             Tell patients to take PRADAXA exactly as prescribed.
             Remind patients not to discontinue PRADAXA without talking to the health care provider who prescribed it.
             Keep PRADAXA in the original bottle to protect from moisture. Do not put PRADAXA in pill boxes or pill organizers.
             When more than one bottle is dispensed to the patient, instruct them to open only one bottle at a time.
             Instruct patient to remove only one capsule from the opened bottle at the time of use. The bottle should be immediately and tightly closed.
             Advise patients not to chew or break the capsules before swallowing them and not to open the capsules and take the pellets alone.
             Advise patients that the capsule should be taken with a full glass of water.

   17.2 Bleeding
   Inform patients that they may bleed more easily, may bleed longer, and should call their health care provider for any signs or symptoms of bleeding.

   Instruct patients to seek emergency care right away if they have any of the following, which may be a sign or symptom of serious bleeding:
              Unusual bruising (bruises that appear without known cause or that get bigger)
              Pink or brown urine
              Red or black, tarry stools
              Coughing up blood
              Vomiting blood, or vomit that looks like coffee grounds

   Instruct patients to call their health care provider or to get prompt medical attention if they experience any signs or symptoms of bleeding:
              Pain, swelling or discomfort in a joint
              Headaches, dizziness, or weakness
              Reoccurring nose bleeds
              Unusual bleeding from gums
              Bleeding from a cut that takes a long time to stop
              Menstrual bleeding or vaginal bleeding that is heavier than normal

   If patients have had neuraxial anesthesia or spinal puncture, and particularly, if they are taking concomitant NSAIDs or platelet inhibitors, advise patients to watch for
   signs and symptoms of spinal or epidural hematoma, such as back pain, tingling, numbness (especially in the lower limbs), muscle weakness, and stool or urine
   incontinence. If any of these symptoms occur, advise the patient to contact his or her physician immediately [see Boxed Warning].

   17.3 Gastrointestinal Adverse Reactions
   Instruct patients to call their health care provider if they experience any signs or symptoms of dyspepsia or gastritis:
              Dyspepsia (upset stomach), burning, or nausea
              Abdominal pain or discomfort
              Epigastric discomfort, GERD (gastric indigestion)

   17.4 Invasive or Surgical Procedures
   Instruct patients to inform their health care provider that they are taking PRADAXA before any invasive procedure (including dental procedures) is scheduled.

   17.5 Concomitant Medications
   Ask patients to list all prescription medications, over-the-counter medications, or dietary supplements they are taking or plan to take so their health care provider knows
   about other treatments that may affect bleeding risk (e.g., aspirin or NSAIDs) or dabigatran exposure (e.g., dronedarone or systemic ketoconazole).

   17.6 Prosthetic Heart Valves
   Instruct patients to inform their health care provider if they will have or have had surgery to place a prosthetic heart valve.

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                                                           MEDICATION GUIDE
                                                           PRADAXA (pra dax a)
                                                      (dabigatran etexilate mesylate)
                                                                  capsules
   Read this Medication Guide before you start taking PRADAXA and each time you get a refill. There may be new
   information. This Medication Guide does not take the place of talking with your doctor about your medical condition or
   your treatment.
   What is the most important information I should know about PRADAXA?
    For people taking PRADAXA for atrial fibrillation:
        People with atrial fibrillation (a type of irregular heartbeat) are at an increased risk of forming a blood clot in the heart,
        which can travel to the brain, causing a stroke, or to other parts of the body. PRADAXA lowers your chance of having
        a stroke by helping to prevent clots from forming. If you stop taking PRADAXA, you may have increased risk of
        forming a clot in your blood.
       Do not stop taking PRADAXA without talking to the doctor who prescribes it for you. Stopping PRADAXA
       increases your risk of having a stroke.
       PRADAXA may need to be stopped, if possible, prior to surgery or a medical or dental procedure. Ask the doctor who
       prescribed PRADAXA for you when you should stop taking it. Your doctor will tell you when you may start taking
       PRADAXA again after your surgery or procedure. If you have to stop taking PRADAXA, your doctor may prescribe
       another medicine to help prevent a blood clot from forming.
      PRADAXA can cause bleeding which can be serious, and sometimes lead to death. This is because PRADAXA is a
       blood thinner medicine that lowers the chance of blood clots forming in your body.
      You may have a higher risk of bleeding if you take PRADAXA and:
            o are over 75 years old
            o have kidney problems
            o have stomach or intestine bleeding that is recent or keeps coming back, or you have a stomach ulcer
            o take other medicines that increase your risk of bleeding, including:
                      aspirin or aspirin containing products
                      long-term (chronic) use of non-steroidal anti-inflammatory drugs (NSAIDs)
                                                      ®          ®
                      warfarin sodium (Coumadin , Jantoven )
                      a medicine that contains heparin
                      clopidogrel bisulfate (Plavix®)
                      prasugrel (Effient®)
            o have certain kidney problems and also take the medicines dronedarone (Multaq®) or ketoconazole tablets
                (Nizoral®).
                Tell your doctor if you take any of these medicines. Ask your doctor or pharmacist if you are not sure if your
                medicine is one listed above.
      PRADAXA can increase your risk of bleeding because it lessens the ability of your blood to clot. While you take
       PRADAXA:
            o you may bruise more easily
            o it may take longer for any bleeding to stop
       Call your doctor or get medical help right away if you have any of these signs or symptoms of bleeding:
            o unexpected bleeding or bleeding that lasts a long time, such as:
                      unusual bleeding from the gums
                      nose bleeds that happen often
                      menstrual bleeding or vaginal bleeding that is heavier than normal
            o bleeding that is severe or you cannot control
            o pink or brown urine
            o red or black stools (looks like tar)
            o bruises that happen without a known cause or get larger
            o cough up blood or blood clots
            o vomit blood or your vomit looks like “coffee grounds”
            o unexpected pain, swelling, or joint pain
            o headaches, feeling dizzy or weak
       Take PRADAXA exactly as prescribed. Do not stop taking PRADAXA without first talking to the doctor who
       prescribes it for you. Stopping PRADAXA may increase your risk of a stroke.
       PRADAXA may need to be stopped, if possible, for one or more days before any surgery, or medical or dental
       procedure. If you need to stop taking PRADAXA for any reason, talk to the doctor who prescribed PRADAXA for you
       to find out when you should stop taking it. Your doctor will tell you when to start taking PRADAXA again after your
       surgery or procedure.

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     Spinal or epidural blood clots (hematoma). People who take a blood thinner medicine (anticoagulant) like
      PRADAXA, and have medicine injected into their spinal and epidural area, or have a spinal puncture have a risk of
      forming a blood clot that can cause long-term or permanent loss of the ability to move (paralysis). Your risk of
      developing a spinal or epidural blood clot is higher if:
           o a thin tube called an epidural catheter is placed in your back to give you certain medicine.
           o you take NSAIDs or a medicine to prevent blood from clotting
           o you have a history of difficult or repeated epidural or spinal punctures
           o you have a history of problems with your spine or have had surgery on your spine.
      If you take PRADAXA and receive spinal anesthesia or have a spinal puncture, your doctor should watch you closely
      for symptoms of spinal or epidural blood clots. Tell your doctor right away if you have back pain, tingling, numbness,
      muscle weakness (especially in your legs and feet), loss of control of the bowels or bladder (incontinence).
   See “What are the possible side effects of PRADAXA?” for more information about side effects.
   What is PRADAXA?
   PRADAXA is a prescription blood thinner medicine that lowers the chance of blood clots forming in your body. PRADAXA
   is used to:
    reduce the risk of stroke and blood clots in people who have a medical condition called atrial fibrillation. With atrial
         fibrillation, part of the heart does not beat the way it should. This can lead to blood clots forming and increase your
         risk of a stroke.
    treat blood clots in the veins of your legs (deep vein thrombosis) or lungs (pulmonary embolism) and reduce the risk of
         them occurring again.
    to help prevent blood clots in the legs and lungs of people who have just had hip replacement surgery.
   PRADAXA is not for use in people with artificial (prosthetic) heart valves.
   It is not known if PRADAXA is safe and works in children.
   Who should not take PRADAXA?
   Do not take PRADAXA if you:
    currently have certain types of abnormal bleeding. Talk to your doctor before taking PRADAXA if you currently have
      unusual bleeding.
    have had a serious allergic reaction to PRADAXA. Ask your doctor if you are not sure.
    have ever had or plan to have a valve in your heart replaced
   What should I tell my doctor before taking PRADAXA?
   Before you take PRADAXA, tell your doctor if you:
    have kidney problems
    have ever had bleeding problems
    have ever had stomach ulcers
    have any other medical condition
    are pregnant or plan to become pregnant. It is not known if PRADAXA will harm your unborn baby.
    are breastfeeding or plan to breastfeed. It is not known if PRADAXA passes into your breast milk.
   Tell all of your doctors and dentists that you are taking PRADAXA. They should talk to the doctor who prescribed
   PRADAXA for you, before you have any surgery, or a medical or dental procedure.
   Tell your doctor about all the medicines you take, including prescription and over-the-counter medicines, vitamins,
   and herbal supplements.
   Some of your other medicines may affect the way PRADAXA works. Certain medicines may increase your risk of
   bleeding. See “What is the most important information I should know about PRADAXA?”
   Especially tell your doctor if you take:
    rifampin (Rifater®, Rifamate®, Rimactane®, Rifadin®)
   Know the medicines you take. Keep a list of them and show it to your doctor and pharmacist when you get a new
   medicine.
   How should I take PRADAXA?
    Your doctor will decide how long you should take PRADAXA. Do not stop taking PRADAXA without first talking
      with your doctor. Stopping PRADAXA may increase your risk of having a stroke or forming blood clots.
    Take PRADAXA exactly as prescribed by your doctor.
    Take PRADAXA capsules twice a day (approximately every 12 hours).
    If you miss a dose of PRADAXA, take it as soon as you remember. If your next dose is less than 6 hours away, skip
      the missed dose. Do not take two doses of PRADAXA at the same time.
    Swallow PRADAXA capsules whole. Do not break, chew, or empty the pellets from the capsule.
    You can take PRADAXA with or without food.
    You should take PRADAXA with a full glass of water.


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      Do not run out of PRADAXA. Refill your prescription before you run out. If you plan to have surgery, or a medical or a
       dental procedure, tell your doctor and dentist that you are taking PRADAXA. You may have to stop taking PRADAXA
       for a short time. See “What is the most important information I should know about PRADAXA?”.
      If you take too much PRADAXA, go to the nearest hospital emergency room or call your doctor.
      Call your doctor or healthcare provider right away if you fall or injure yourself, especially if you hit your head. Your
       doctor or healthcare provider may need to check you.
      PRADAXA comes in a bottle or in a blister package.
      Only open 1 bottle of PRADAXA at a time. Finish your opened bottle of PRADAXA before opening a new bottle.
      After opening a bottle of PRADAXA, use within 4 months. See “How should I store PRADAXA?”
      When it is time for you to take a dose of PRADAXA, only remove your prescribed dose of PRADAXA from your open
       bottle or blister package.
      Tightly close your bottle of PRADAXA right away after you take your dose.
   What are the possible side effects of PRADAXA?
   PRADAXA can cause serious side effects, including:
    See “What is the most important information I should know about PRADAXA?”
    Allergic Reactions. In some people, PRADAXA can cause symptoms of an allergic reaction, including hives, rash,
        and itching. Tell your doctor or get medical help right away if you get any of the following symptoms of a serious
        allergic reaction with PRADAXA:
              o chest pain or chest tightness                             o trouble breathing or wheezing
              o swelling of your face or tongue                           o feeling dizzy or faint
   Common side effects of PRADAXA include:
    indigestion, upset stomach, or burning
    stomach pain
   Tell your doctor if you have any side effect that bothers you or that does not go away.
   These are not all of the possible side effects of PRADAXA. For more information, ask your doctor or pharmacist.
   Call your doctor for medical advice about side effects. You may report side effects to FDA at 1-800-FDA-1088.
   How should I store PRADAXA?
    Store PRADAXA at room temperature between 59F to 86F (15C to 30C). After opening the bottle, use PRADAXA
      within 4 months. Safely throw away any unused PRADAXA after 4 months.
    Keep PRADAXA in the original bottle or blister package to keep it dry (protect the capsules from moisture).
      Do not put PRADAXA in pill boxes or pill organizers.
    Tightly close your bottle of PRADAXA right away after you take your dose.
   Keep PRADAXA and all medicines out of the reach of children.
   General information about the safe and effective use of PRADAXA
   Medicines are sometimes prescribed for purposes other than those listed in a Medication Guide. Do not use PRADAXA
   for a condition for which it was not prescribed. Do not give PRADAXA to other people, even if they have the same
   symptoms that you have. It may harm them.
   This Medication Guide summarizes the most important information about PRADAXA. If you would like more information,
   talk with your doctor. You can ask your pharmacist or doctor for information about PRADAXA that is written for health
   professionals.
   For more information, go to www.PRADAXA.com or call Boehringer Ingelheim Pharmaceuticals, Inc. at 1-800-542-6257 or
   (TTY) 1-800-459-9906, or scan here to go to www.PRADAXA.com.




   What are the ingredients in PRADAXA?
   Active ingredient: dabigatran etexilate mesylate
   Inactive ingredients: acacia, dimethicone, hypromellose, hydroxypropyl cellulose, talc, and tartaric acid. The capsule
   shell is composed of carrageenan, hypromellose, potassium chloride, titanium dioxide, black edible ink, and FD&C Blue
   No. 2 (150 mg and 110 mg capsules only), or FD&C Yellow No. 6 (150 mg and 75 mg capsules only).

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